      Case: 1:24-cv-04260 Document #: 45 Filed: 08/05/24 Page 1 of 2 PageID #:2986




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LOUIS POULSEN A/S,

               Plaintiff,

                        v.                            Case No. 24-cv-04260

THE PARTNERSHIPS AND                                  Judge Jorge L. Alonso
UNINCORPORATED ASSOCIATIONS                           Magistrate Judge Maria Valdez
IDENTIFIED IN SCHEDULE “A”,
               Defendants.

                               PLAINTIFF’S STATUS REPORT

        Plaintiff Louis Poulsen A/S., through its counsel, submits the following report on the status

of the case:

I.      Status of Defendants

        Of the 436 Defendants, thirty-nine (39) Defendants have been dismissed from this case

with prejudice. Three (3) defendants have paid settlement and will be dismissed with prejudice.

Eleven (11) Defendants have been sent a settlement agreement and three (3) Defendants have

signed a settlement agreement. Upon full execution and performance of the agreement, they will

be dismissed from the case. Seven (7) Defendants have signed an agreement and have requested a

platform deduction. Upon full execution and performance of the agreement, they will be dismissed

from the case. Forty-three (43) Defendants could not be served and will be dismissed without

prejudice. Plaintiff is actively negotiating with forty-four (44) defendants. The remaining

Defendants have not answered the complaint or otherwise pled



II.     Proposed Next Steps




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    Case: 1:24-cv-04260 Document #: 45 Filed: 08/05/24 Page 2 of 2 PageID #:2987




       Plaintiff will file a Motion for Entry of Default and Default Judgement against the

defendants who have been served but have not answered within four weeks. Therefore, Plaintiff

proposes to file a further status report in 21 days, and requests that the Court schedule any

necessary status conference after that date.


Dated: August 5, 2024                              Respectfully submitted,

                                                   Louis Poulsen A/S

                                                   By:    /s/ James E. Judge

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